    Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 1 of 72




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                            Tallahassee Division


 AUGUST DEKKER, et al.,

                      Plaintiffs,
                v.                                  Case No. 4:22-cv-00325-RH-MAF

 JASON WEIDA, et al.,

                      Defendants.


            EXPERT REBUTTAL REPORT OF ARON JANSSEN, M.D.

       I, Aron Janssen, M.D., hereby declare and state as follows:

       1.     I am over 18 years of age, of sound mind, and in all respects competent

to testify.

       2.     I have been retained by counsel for Plaintiffs as an expert in connection

with the above-captioned litigation. The opinions expressed herein are my own and

do not express the views or opinions of my employer.

       3.     I have actual knowledge of the matters stated herein. If called to testify

in this matter, I would testify truthfully and based on my expert opinion.

                     BACKGROUND AND QUALIFICATIONS

   A. Qualifications

       4.     I am the Vice Chair of the Pritzker Department of Psychiatry and

Behavioral Health at the Ann and Robert H. Lurie Children’s Hospital of Chicago
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EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
    Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 2 of 72




(“Children’s Hospital”), where I also serve as Clinical Associate Professor of Child

and Adolescent Psychiatry. I maintain a clinical practice in Illinois where I treat

patients from Illinois and the surrounding states.

       5.     I received my medical degree from the University of Colorado School

of Medicine and completed by residency in psychiatry and fellowship in child and

adolescent psychiatry at New York University Langone Medical Center.

       6.     In 2011, I founded the Gender and Sexuality Service at New York

University, for which I served as Clinical Director. I also previously served as Co-

Director of the New York University Pediatric Consultation Liaison Service for the

New York University Department of Child and Adolescent Psychiatry.

       7.     I am board certified in Child and Adolescent Psychiatry and Adult

Psychiatry.

       8.     I have been treating children and adolescents with gender dysphoria for

over 12 years. I have seen and treated over 500 children and adolescents with gender

dysphoria during my medical career. Currently, approximately 90 percent of the

patients in my clinical practice are transgender children and adolescents.

       9.     As part of my practice, I stay current on medical research and literature

relating to the care of transgender persons and patients with gender dysphoria. I am

an Associate Editor of the peer-reviewed publication Transgender Health and a




                                               2

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
    Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 3 of 72




reviewer for LGBT Health and Journal of the American Academy of Child and

Adolescent Psychiatry, both of which are peer-reviewed journals.

       10.    I am the author or co-author of 16 articles on care for transgender

patients and am the co-editor of Affirmative Mental Health Care for Transgender

and Gender Diverse Youth: A Clinical Casebook (Springer Publishing, 2018), which

is the first published clinical casebook on the mental health treatment for children

and adolescents with gender dysphoria. I have also authored or co-authored

numerous book chapters on treatment for transgender adults and youth.

       11.    I have been a member of the World Professional Association for

Transgender Health (“WPATH”) since 2011. I was actively involved in the revision

of WPATH’s Standards of Care for the Health of Transgender and Gender Diverse

People (“Standards of Care”), serving as a member of revision committees for both

the child and adult mental health chapters of version 8 of WPATH’s Standards of

Care (SOC 8), published in 2022.

       12.    In addition to the above, I am involved in training other medical and

mental health providers in the treatment of children and adolescents with gender

dysphoria. I have conducted trainings for over 1,000 medical and mental health

providers and have given dozens of public addresses, seminars, and lectures on the

treatment of gender dysphoria in children and adolescents.




                                               3

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
    Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 4 of 72




       13.      I am also involved in a number of international, national, and regional

committees that contribute to the scholarship and provision of care to transgender

people. I am the Chair of the American Academy of Child and Adolescent

Psychiatry’s Sexual Orientation and Gender Identity Committee. I serve as a

member of the Transgender Health Committee for the Association of Gay and

Lesbian Psychiatrists. I was the Founder of the Gender Variant Youth and Family

Network.

       14.      Further information about my professional background and experience

is outlined in my curriculum vitae, a true and accurate copy of which is attached as

Exhibit A to this report.

   B. Prior Testimony

       15.      Within the last four years, I testified as an expert at trial or by deposition

in: B.P.J. v. W. Va. Bd. of Educ., Case No. 2:21-cv-00316 (S.D. W.Va.); and L.E. v.

Lee, Case No. 3:21-CV-00835 (M.D. Tenn.).

   C. Compensation

             16.I am being compensated for my work on this matter at a rate of $400

per hour for preparation of this report and for time spent preparing for and giving

local deposition or trial testimony. In addition, I would be compensated $2,500 per

day for deposition or trial testimony requiring travel and $300 per hour for time spent




                                               4

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
    Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 5 of 72




travelling, plus reasonable expenses. My compensation does not depend on the

outcome of this litigation, the opinions I express, or the testimony I may provide.

   D. Bases for Opinions

       17.    In preparing this report, I reviewed: the Complaint in this case; Florida

Administrative Code 59G-1.050(7) (the “Challenged Exclusion”); the document

titled “Florida Medicaid: Generally Accepted Professional Medical Standards

Determination on the Treatment of Gender Dysphoria,” published by the Florida

Agency for Health Care Administration in June 2022, and its attachments; the expert

reports of Drs. Armand Antommaria, Dan Karasic, Johanna Olson-Kennedy, Loren

Schechter, Daniel Shumer, and Kellan Baker, submitted by plaintiffs; and the expert

reports Drs. Michael Biggs, G. Kevin Donovan, Paul Hruz, Kristopher Kaliebe

Michael Laidlaw, Patrick Lappert, Stephen Levine, Sophie Scott, and Joseph Zanga,

submitted by defendants.

       18.    My opinions are based on: (1) my clinical experience as a psychiatrist

treating patients with gender dysphoria, including transgender children, adolescents,

and adults; (2) my knowledge of the peer-reviewed research, including my own,

regarding the treatment of gender dysphoria, which reflects advancements in the

field of transgender health; my knowledge of the clinical practice guidelines for the

treatment of gender dysphoria, including my work as a contributing author of

WPATH SOC 8; and (4) my review of any of the materials cited herein.

                                               5

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
    Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 6 of 72




       19.    I have also reviewed the materials listed in the bibliography attached as

Exhibit B. I may rely on those documents as additional support for my opinions.

       20.    In addition, I have relied on my years of research and clinical

experience in child, adolescent, and adult psychiatry, as well as my professional

knowledge, as set out in Exhibit A and the materials listed therein.

       21.    The materials I have relied upon in preparing this report are the same

types of materials that experts in my field of study regularly rely upon when forming

opinions on the subject. I may wish to supplement these opinions or the bases for

them as a result of new scientific research or publications or in response to

statements and issues that may arise in my area of expertise.

       22.    I have not met or spoken with the Plaintiffs in this case.

                              SUMMARY OF OPINIONS

       23.    As with all of medicine, transgender medicine is a continuously

evolving field. But this does not make medical treatment for gender dysphoria

experimental or investigational. To the contrary, such treatment is well-established

and large body of evidence (more so than exists for other non-experimental medical

interventions) documents that safety and efficacy of these medical interventions.

       24.    Transgender people have always existed and the provision of medical

care to address transgender people’s gender incongruence/gender dysphoria goes

back decades. In fact, the field of transgender medicine was built to increase

                                               6

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
    Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 7 of 72




oversight around patient care, and often requires consent processes that go above

and beyond what is expected for other medical decisions.

       25.    There is robust evidence demonstrating the value of social, medical and

surgical interventions for children, adolescents, and adults when in the context of an

appropriate psychosocial evaluation. And to be clear, no medical or surgical

interventions are recommended or provided to anyone until after the onset of

puberty, meaning such care is only available to adolescents and adults.

       26.    The Defendants and their designated experts spent much time arguing

about hypothetical concerns, for which there is no proof, and the limitations of

particular studies. But Defendants and their designated experts completely ignore

that the evidence-base for the safety and efficacy for gender-affirming care is not

based on any one particular study. Rather, as is the norm in all of science and

medicine, we look at the entire body of research surrounding gender-affirming care.

When one does so, the conclusion that gender-affirming medical care for the

treatment of gender dysphoria in transgender adolescents and adults is safe and

effective becomes inescapable. Decades on clinical experience further support this

conclusion.

       27.    Defendants and their designated experts further ignore the robust

evidence for the potential harm faced by transgender individuals when barred access

to medically necessary gender-affirming care.

                                               7

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
    Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 8 of 72




        28.   Defendants and their designated experts also ignore every transgender

adult was once a child. The Defendants’ designated experts focus on children and

adolescents, but the Challenged Exclusion bans coverage for all care for an already

vulnerable population, including adults. None of them explain why this case is

experimental for transgender adults.

        29.   While there can be debate about the techniques and modalities of care

to support transgender youth, it is important to keep in mind that the opposite of

substandard care is excellent care, not no care. To be clear, however, gender-

affirming care is safe and effective, it is not substandard or experimental.

        30.   Understanding patients’ experience of distress around gender is a vital

component of being an expert in this field. Without understanding the distress

transgender patients face – as well as the joy and resilience they experience when

they get the care they need – one is only spouting unmoored and unfounded opinions.

Medicine and science demand more than just personal opinions, it demands study

and experience in the field. For the most part, Defendants’ designated experts lack

both.




                                               8

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
    Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 9 of 72




                                  EXPERT OPINIONS

   A. Defendants’ experts lack the experience and/or training to opine on the
      diagnosis, assessment, and treatment of gender dysphoria of transgender
      children and adolescents.

Dr. Levine

       31.    Because Dr. Levine does not appear to be board certified in child and

adolescent psychiatry, he lacks the related experience and training in specific

developmental considerations for children and adolescents that is critical for

working with transgender youth and their families.

       32.    Moreover, Dr. Levine repeatedly acknowledges in his report that he has

no firsthand knowledge of how gender-affirming mental health care is actually

provided to children and adolescents. His descriptions are based on second-hand

conversations and often sensationalized media reports. (See, e.g., Levine Report, at

¶49 (offering opinions based on anecdotal reports from the internet)). He speaks in

his report with authority on developmental and family factors that shape identity

development in youth despite lacking the requisite training and experience and even

ascribes reasons for why boys and girls may pursue social transition despite no

clinical experience in the relevant population.

Dr. Kaliebe

       33.    Similarly, Dr. Kaliebe is not qualified to opine as an expert on the care

of transgender children and adolescents. There is a difference between having an


                                               9

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 10 of 72




interest in a topic and having expertise in a clinical or research domain. Dr. Kaliebe’s

report of the number of transgender patients he has seen is consistent with what many

of our child psychiatry trainees are exposed to in their residency, and is not consistent

with the volume of patients necessary to demonstrate expertise on the clinical nuance

of the field. In addition to a lack of clinical expertise, Dr. Kaliebe’s report calls into

question his expertise in research methods or ethics. As an example, throughout his

report Dr. Kaliebe makes claims about the quality of the evidence for gender

affirming care while describing unscientific survey questions asked outside of the

IRB process as having the same weight as data published in a peer-reviewed journal.

Furthermore, nowhere in his CV does it describe a history of expertise in

evolutionary biology or early human behavior, but this doesn’t stop him from

making unsubstantiated and uncited assertions about adaptive behaviors in “ancient

evolutionary environments.”

Defendants’ other experts

       34.    Expertise in mental health care requires specialized training and

ongoing work in the field with appropriate certification and licensure. To my

knowledge, and based on a review of their respective CV’s, Drs. Hruz, Laidlaw,

Lappert, Biggs, Donovan, and Zanga have neither had the training nor the

certification and licensure to weigh in as experts on the appropriateness of a mental

health assessment or treatment plan. This lack of expertise, however, has not

                                              10

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 11 of 72




stopped them from making broad generalizations about mental health care that bear

little resemblance to the care as typically delivered. As such, their characterizations

of the practice of mental health care should be seen as a lay opinion based on

secondhand knowledge at best.             Furthermore, expertise in the treatment of

transgender individuals requires experience in the care of transgender individuals, a

characteristic in short supply with the aforementioned experts.

   B. Gender Identity

       35.    At birth, infants are assigned a sex, either male or female, based on the

appearance of their external genitalia. For most people, their sex assigned at birth,

or assigned sex, matches that person’s gender identity. For transgender people, their

assigned sex does not align with their gender identity.

       36.    Gender identity is a person’s core sense of belonging to a particular

gender, such as male or female.

       37.    Gender identity is one of a person’s multiple sex-related characteristics,

which also include, among others, internal reproductive organs, external genitalia,

chromosomes, hormones, and secondary sex characteristics.

       38.    In their reports, Defendants’ designated experts state repeatedly that sex

is binary and conditions of sexual differentiation are not a “third sex.” This simplistic

view, however, ignores that there is great variance among the multiple sex-related

characteristics that a person possesses, including gender identity, and that such

                                              11

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 12 of 72




variance is a natural phenomenon with biological underpinnings. While conditions

of sexual differentiation (i.e., intersex conditions) are not a “third sex,” they are

indicative of the natural variance regarding certain sex-related characteristics. These

are rare conditions with an estimated aggregate incidence of 0.1- 0.5% of live births

(Arboleda, et al., 2013). What is more, many people cannot make either eggs or

sperm, yet are recognized as female or male based on other sex-related

characteristics.

       39.    Every person has a gender identity and it is not a personal decision,

preference, or belief. A transgender boy cannot simply turn off his gender identity

like a switch, any more than a nontransgender boy or anyone else could.

       40.    Living in a manner consistent with one’s gender identity is critical to

the health and wellbeing of any person, including transgender people.

       41.    The lack of evidence demonstrating that gender identity can be altered,

either for transgender or for nontransgender individuals, further underscores the

innate nature and immutability of gender identity.          Past attempts to “cure”

transgender individuals by using talk therapy, and even aversive therapy, to change

their gender identity to match their birth-assigned sex were ineffective and caused

extreme psychological damage.

       42.    A recent study found that experiencing those conversion efforts was

associated with greater odds of attempting suicide, especially for those had those

                                              12

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 13 of 72




experiences in childhood (Turban, et al., 2020b).        That conclusion is further

supported by the extensive evidence that rejection of a young person’s gender

identity from family and peers are the strongest predictors for adverse mental health

outcomes. Every leading medical and mental health organization has issued clear

statements that those practices are discredited, harmful, and ineffective, including

the American Medical Association (2022), the American Psychiatric Association

(2018), the American Academy of Child & Adolescent Psychiatry (2018), the

American Psychological Association (2021), and the American Academy of

Pediatrics (Rafferty, et al., 2018), among others.

       43.    Dr. Levine notes in his report “it is widely agreed that the therapist

should not directly challenge a claimed transgender identity in a child.” (Levine

Report, at ¶50). This characterization mischaracterizes gender affirming therapy and

calls into question his understanding of conversion efforts in the context of pre-

pubertal youth. Within the model of gender affirming care, challenging assumptions

based on stereotypes of gender and encouraging a child to build nuance around

identity is inherent to the process of care. However, what Dr. Levine seems to be

arguing for is not to encourage a psychotherapeutic process that helps a child come

to a clear and nuanced sense of self, whatever the gender identity may be, but instead

recommending a psychotherapeutic intervention that privileges a non-transgender

identity as inherently preferred. While Dr. Levine focuses much of his report on

                                              13

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 14 of 72




children who desist during puberty, inherent in the literature on desistance includes

the substantial portion of prepubertal youth who persist in a transgender identity

through puberty and into adulthood. By foreclosing the possibility of a healthy

transgender identity and instead encouraging these transgender youth who will

persist into transgender adults to strive towards a cisgender outcome, as Defendants

and their experts argue, one is, by definition, practicing conversion therapy.

       44.    There is no one way by which people experience their gender identity

development from early questioning to consolidation and affirmation. Though it is

common for transgender youth to come out at puberty, for other transgender persons

this is not true, and it may take them longer to come to recognize and acknowledge

their gender identity. For the latter group, this is not due to some “late onset” of

dysphoric feelings or sudden understanding themselves as transgender, it is the result

of a long and difficult process toward accepting and understanding themselves in a

social context where being transgender is still a difficult reality due to external

stigma, fears of family and social rejection, and even internalized transphobia

(Pullen Sansfaçon, et al., 2020).

       45.    Dr. Levine, Dr. Kaliebe, and Defendants’ other designated experts

devote a great deal of space to discussing a theory that an increasing number of

people who are assigned female at birth are suddenly identifying as males in mid-to-

late adolescence as a result of peer pressure and social contagion. (See, e.g., Levine

                                              14

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
    Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 15 of 72




Report, at ¶¶ 38, 96; Kaliebe Report, at ¶¶30-31, 40-43; Laidlaw Report, at ¶29;

Hruz Report, at ¶¶ 117, 131). The theory that some adolescents experience “rapid-

onset gender dysphoria” as a result of social influences is based almost exclusively

on one highly controversial study (Littman, 2018). Although purporting to provide

a basis for Dr. Levine’s speculations, the study was based on an anonymous survey,

allegedly of parents, about the etiology of their child’s gender dysphoria.

Participants were recruited from websites promoting this social contagion theory,

and the children were not surveyed or assessed by a clinician. Those serious

methodological flaws render the study meaningless. The only conclusion that can be

drawn from that study is that a self-selected sample of anonymous people recruited

through websites that predisposed participants to believe transgender identity can be

influenced by social factors do, in fact, believe those social factors influence children

to identify as transgender.1

       46.    Dr. Kaliebe seems to argue that the fact that transgender adolescents

find other transgender adolescents online is proof of a “social contagion.” He cites

to no scientific study to support this speculation, other than Littman study discussed

above. But Dr. Kaliebe ignores that online spaces often provide a safe place for

transgender youth to come out and be themselves, allowing them to explore their



1
  Aside from these serious methodological flaws, Littman’s hypothesis of “rapid onset gender
dysphoria” focuses specifically on gender dysphoria in boys who are transgender and were
assigned a female sex at birth.
                                              15

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 16 of 72




identity. This is no different from a host of other affinity-type groupings one can find

on social media. Just like many other minoritized youth, adolescents often search

out groups that share core characteristics. Dr. Kaliebe’s assertion that social media

is a leading cause of the increased prevalence of transgender identifying youth is not

demonstrated in the extant literature, and it is also beside the point. Part of an

assessment of gender dysphoria includes an inquiry into the social context of the

patient – this includes online spaces and potential positive and negative reinforcing

factors, including social group status online. This also includes assessing for the

concerns Dr. Kaliebe describes that assigned females at birth often face at puberty.

       47.    Notwithstanding the above, Dr. Kaliebe goes on to assert that

“psychiatrists believe social media has significantly contributed to the rise in gender

dysphoria.” In support thereof, Dr. Kaliebe references conversations as his evidence

and further asserts that “most child psychiatrists admit to me they will not speak

publicly on this subject due to how sensitive the topic is.” But such anecdotal

evidence is not the type of evidence one would look to in answering scientific

question nor whether a particular form of care is experimental or investigative.

(Kaliebe Report, at ¶41). Dr. Kaliebe then cites not one but two unscientific polls

of attendees to a particular session at a conference as support for the bold assertion

that such data “confirm[] that the vast majority of a group of child and adolescent

psychiatrists acknowledge social contagion is a major contributor to the rise in

                                              16

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 17 of 72




gender dysphoria.” But this is not how scientific study is conducted in medicine.

There is no plausible basis for Dr. Kaliebe to extrapolate the poll results of an

unscientific survey of attendees to a panel as proof that a “majority of a group of

child and adolescent psychiatrists acknowledge social contagion is a major

contributor to the rise in gender dysphoria.” To the contrary, what Dr. Kaliebe is

doing can hardly be considered science and illustrates how D. Kaliebe does not

understand what selection bias is nor what a study is.

   C. Gender Dysphoria and Its Diagnostic Criteria

       48.    The term “gender dysphoria” is the distress related to the incongruence

between one’s gender identity and one’s sex assigned at birth.

       49.    Gender dysphoria is the clinical diagnosis for the significant distress

that results from the incongruity between one’s gender identity and sex assigned at

birth. It is a serious medical condition, and it is codified in the American Psychiatric

Association’s in the Diagnostic and Statistical Manual of Mental Disorders, Fifth

Edition, Text Revision (DSM-5-TR) (DSM-5 released in 2013 and DSM-5-TR

released in 2022).

       50.    The DSM-5 defines gender dysphoria as a: “marked difference between

the individual’s expressed/experienced gender and the gender others would assign

him or her, and it must continue for at least six months. In children, the desire to be

of the other gender must be present and verbalized. This condition causes clinically

                                              17

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 18 of 72




significant distress or impairment in social, occupational, or other important areas of

functioning.”

        51.   The DSM-5 also states that: “gender dysphoria is manifested in a

variety of ways, including strong desires to be treated as the other gender or to be

rid of one’s sex characteristics, or a strong conviction that one has feelings and

reactions typical of the other gender.”

        52.   “Gender Dysphoria in Children” is a diagnosis applied only to pre-

pubertal children in the DSM-5. The DSM-5 has a separate diagnosis of “Gender

Dysphoria in Adolescents and Adults.” The diagnostic criteria for these diagnoses

are distinct. Understanding that children have less capacity to articulate abstract

concepts about the sense of self as well as a reflection of what can be a lack of

specificity of gender nonconforming behaviors in childhood, there are more nuanced

criteria to make the diagnosis for children. Furthermore, prepubertal youth are not

eligible for medical or surgical intervention while the diagnosis of gender dysphoria

in adolescents/adults is required for medical and/or surgical treatments,

        53.   Simply being transgender or gender diverse is not a medical condition

or pathology to be treated. As the DSM-5 recognizes, diagnosis and treatment are

“focus[ed] on dysphoria as the clinical problem, not identity per se.” (DSM-5, at

451).    The DSM-5 unequivocally repudiated the outdated view that being

transgender is a pathology by revising the diagnostic criteria (and name) of gender

                                              18

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 19 of 72




dysphoria to recognize the clinical distress as the focus of the treatment, not the

patient’s transgender status.

       54.    When untreated, gender dysphoria can cause significant distress

including increased risk of depression, anxiety, and suicidality. This is noted both in

adolescents and adults. However, these risks decline when transgender individuals

are supported and live according to their gender identity.          Not only is this

documented in scientific literature and published data, but I witness this each time I

see my patients being supported by their community, family, school, and medical

providers.

   D. The Guidelines for the Treatment of Gender Dysphoria Are Evidence-
      Based.

       55.    The World Professional Association of Transgender Health (WPATH)

has issued Standards of Care for the Health of Transgender and Gender Diverse

People (“WPATH Standards of Care”) since 1979. The current version is SOC 8,

published in 2022. The WPATH Standards of Care provide guidelines for

multidisciplinary care of transgender individuals, including children and

adolescents, and describes criteria for medical interventions to treat gender

dysphoria, including hormone treatment and surgery when medically indicated, for

adolescents and adults.

       56.    The SOC 8 is based upon a rigorous and methodological evidence-

based approach. (Coleman, et al., 2022). Its recommendations are evidence-based,
                                              19

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 20 of 72




informed by a systematic review of evidence and an assessment of the benefits and

harms of alternative care options, as well as expert consensus via a Delphi procedure.

The process for development of SOC 8 incorporated recommendations on clinical

practice guideline development from the National Academies of Medicine and The

World Health Organization. Its recommendations were graded using a modified

GRADE methodology (Guyatt, et al., 2011), considering the available evidence

supporting interventions, risks and harms, and feasibility and acceptability.

       57.    A clinical practice guideline from the Endocrine Society (the Endocrine

Society Guidelines) provides similar protocols for the medically necessary treatment

of gender dysphoria. (Hembree, et al., 2017).

       58.    Each of these guidelines are evidence-based and supported by scientific

research and literature, as well as extensive clinical experience.

       59.    Each of these guidelines also provides distinct guidance for age-

appropriate care for children, adolescents, and adults with gender dysphoria. And

none of these guidelines recommend medical treatment for prepubertal children,

meaning no medical treatment is recommended until after the onset of puberty.

       60.    The protocols and policies set forth by the WPATH Standards of Care

and the Endocrine Society Guidelines are endorsed and cited as authoritative by the

major professional medical and mental health associations in the United States,

including the American Medical Association, the American Academy of Pediatrics,

                                              20

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 21 of 72




the American Psychiatric Association, the American Psychological Association, the

American College of Obstetrics and Gynecology, the American College of

Physicians, and the World Medical Association, among others.

   E. Assessment and Treatment of Gender Dysphoria in Children

       61.    Defendants’ experts spend substantial portions of their expert reports to

criticizing gender-affirming care for prepubertal transgender children. For example,

according to Dr. Levine, studies have indicated that gender dysphoria in prepubertal

gender diverse children may desist by the time the children reach puberty, and thus

medical professionals should adopt a “watchful waiting” approach and avoid

affirming a prepubertal child’s gender identity.

       62.    However, with regards to prepubertal gender diverse children, the

Standards of Care state that prepubertal gender diverse children “are not eligible to

access medical intervention,” and therefore focuses on developmentally appropriate

psychosocial practices. However, this case concerns coverage of medical treatment,

namely, puberty delaying medications, hormones, and surgery, and none of those

treatments are recommended for transgender youth until after the onset of puberty

(i.e., until adolescence), and even then it is only a subset of those, when it is

medically necessary, age appropriate, and the legal caregivers consent.

       63.    As such, many of Dr. Levine’s and Defendants’ other designated

experts’ litany of criticisms is largely irrelevant to the population of people affected

                                              21

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 22 of 72




by the Challenged Exclusion. For example, a significant number of Dr. Levine’s

and Defendants’ other designated experts’ arguments relate to prepubertal children

who “desist” from expressing a transgender identity once they reach puberty. While

the statements being made about this population are erroneous, they are also largely

irrelevant.

       64.    That said, to avoid any confusion, I address some of Dr. Levine’s and

Defendants’ other designated experts’ arguments pertaining to transgender youth

prepubertal here.

       65.    As with all health care, treatment of prepubertal gender diverse children

is individualized based on the needs of the child and the family and other

psychosocial considerations and is decided upon only after a discussion of possible

benefits and risks (Hidalgo, et al., 2013). As part of those discussions, the child and

their family are advised that prepubertal gender diverse children do not always go

on to identify as transgender when they reach adolescence, and that children are

encouraged to continue developing an understanding of their gender identity without

expectation of a specific outcome even after social transition takes place (American

Psychological Association, 2015; Edwards-Leeper and Spack, 2012).

       66.    The term “gender diverse” includes transgender children as well as

children who will ultimately not identify as transgender later in life (Coleman, et al.,

2022).

                                              22

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 23 of 72




       67.      Dr. Levine and Defendants’ other designated experts present a

caricatured description of prevailing standards of care that reflects a profound

misunderstanding of the subject with respect to prepubertal gender diverse children.

Mental health providers cannot change a prepubertal child’s gender identity or

prevent them from being transgender, just as mental health providers cannot change

a cisgender child’s gender identity. Furthermore, it is far from the standard of care

for clinicians to blindly support a child’s potential social transition without careful

assessment and a thorough discussion of the risks, benefits and alternatives of this

intervention.

       68.      Prepubertal children who “desist” are children with nonconforming

gender expression who realize with the onset of puberty that their gender identity is

consistent with their sex assigned at birth. Their understanding of their gender

identity changes with the onset of puberty, but their gender identity does not. We

cannot definitively determine which prepubertal children will go on to identify as

transgender when they reach adolescence, but we know that children with gender

dysphoria who persist into puberty are more likely to have expressed a consistent,

persistent, and insistent understanding of their gender identity from a young age

(Steensma, et al., 2013).

       69.      The focus of gender-affirming care and SOC 8 is thus in supporting

the overall health and wellbeing of the child. In this manner, the primary goal of

                                              23

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 24 of 72




gender-affirming care is to help a child understand their own gender identity and

build resilience and mental wellness in a child and family, without privileging any

one outcome over another.

       70.    Important considerations in deciding whether social transition is in a

child’s best interest include: whether there is a consistent, stable articulation of a

gender different from the child’s sex assigned at birth, which should be distinguished

from merely dressing or acting in a gender non-conforming manner; whether the

child is expressing a strong desire or need to transition; the degree of distress the

child is experiencing as a result of the gender dysphoria; and whether the child will

be emotionally and physically safe during and following transition (Coleman, et al.,

2022; American Psychological Association, 2015).

       71.     A treatment plan is informed by a psychosocial assessment, which may

vary greatly depending on the patient’s presentation and the complexity of the issues

the patient is navigating. Further, in conducting that assessment, the mental health

provider is drawing from their professional training and experience in working with

transgender young people, exercising professional judgment, and tailoring the

assessment to each individual patient.

       72.    There is also no requirement that prepubertal children who socially

transition receive mental health therapy. Many prepubertal children who express a

gender identity different from their sex assigned at birth do not experience any co-

                                              24

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 25 of 72




occurring conditions or other psychological distress requiring treatment (Coleman,

et al., 2022; de Vries, et al., 2011a). Mental health therapy may be useful for some

prepubertal children but is not necessary or appropriate for everyone. Forcing

children to undergo therapy when it is not medically indicated is both harmful and

unethical.

       73.    What makes gender-affirming care “gender affirming” is that it does

not presume that being transgender is incompatible with a young person’s short- and

long-term health and wellbeing. It is also important to note that clinicians utilizing

gender affirming care do not assume that all children asserting a gender identity

incongruent with their sex assigned at birth are inherently transgender. A clinician

doing a careful assessment and recommending a child not socially transition or an

adolescent not pursue medical care is fully aligned with this treatment paradigm.

       74.    Dr. Levine and Defendants’ additional designated experts seem to think

social transition is a single decision that irrevocably alters a child’s trajectory over

time. This belief belies their lack of clinical experience in working with gender

diverse pre-pubertal youth. Clinically, social transition is often a series of steps taken

gradually with feedback from the child, the family, and the clinician elicited over

time. It is false that allowing prepubertal transgender children to socially transition

puts these children on a path to becoming transgender adolescents and adults.

Rather, the evidence shows that the same prepubertal children who are likely to have

                                              25

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 26 of 72




a stable transgender identity into adolescence are the children who are most likely

to articulate a strong and consistent need to socially transition (Steensma, et al.,

2013). For example, a recent study found that a group of transgender children who

transitioned before puberty and a group of transgender children who waited to

transition until after puberty both showed the same intensity of cross-gender

identification. In other words, socially transitioning before puberty did not increase

children’s cross-gender identification, and deferring transition did not decrease

cross-gender identification (Rae, et al., 2019).

       75.    Intense cross-gender identification and a strong, persistent desire to

transition is simply an indicator that a child is more likely to be transgender and not

merely gender nonconforming.

   F. Assessment and Treatment of Gender Dysphoria in Adolescents

       76.    WPATH SOC 8 recommends that health care professionals working

with transgender and nonbinary adolescents be licensed, hold a postgraduate degree

in relevant clinical field, have received training and developed expertise in working

with children and adolescents, and have received training and developed expertise

in gender identity and diversity in youth and in the ability of youth to assent/consent

to care (Coleman, et al., 2022).

       77.    The Standards of Care also recommend a “comprehensive

biopsychosocial assessment” for adolescents “prior to any medically necessary

                                              26

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 27 of 72




medical or surgical intervention” for gender dysphoria. The assessment should

include gender identity development, social development and support, diagnostic

assessment of co-occurring mental health or developmental concerns, and capacity

for decision-making (Coleman, et al., 2022). So do the Endocrine Society Guidelines

(Hembree, et al., 2017).

       78.    Defendants’ experts point to the rates of co-occurring psychiatric

diagnoses among youth presenting with gender identity concerns. But not only are

some of these co-occurring diagnoses, like anxiety and depression, often associated

with dysphoria, but because youth experiencing gender identity concerns present for

care before mental health providers more often, it is easier to diagnose other co-

occurring diagnoses that would otherwise often go undiagnosed. In any event, it is

precisely because of these co-occurring mental health diagnoses that specialized

training is required to do a comprehensive biopsychosocial assessment that takes

into account the possibility of diagnoses that may lead a child to experience

confusion around gender identity that is inconsistent with a diagnosis of gender

dysphoria. However, once properly assessed and the other conditions are properly

managed, the presence of these diagnoses is not a contraindication to provide

medical care to adolescents with gender dysphoria.

       79.    For transgender adolescents, the onset of puberty is often a painful

and sometimes traumatic experience that brings increased dysphoria and the

                                              27

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 28 of 72




potential development of a host of comorbidities including depression, anxiety,

substance abuse, self-harming behaviors, social isolation, high-risk sexual

behaviors, and increased suicidality. It is notable that Dr. Levine acknowledges that

many transgender adults have derived significant benefit from gender affirming

medical and surgical care but fails to recognize that all transgender adults were once

adolescents and that much of the stigma faced by transgender adults that he

recognizes as a source of distress and dysfunction would be avoided had they had

access to this care during adolescence.

       80.    Some transgender people who do not come forward until adolescence

may have experienced symptoms of gender dysphoria for long periods of time but

have been uncomfortable disclosing those feelings to parents. Other transgender

people do not experience distress until they experience the physical changes

accompanying puberty.           In either case, gender-affirming care requires a

comprehensive assessment and evidence of persistent, sustained gender dysphoria

before medical treatment is recommended.

       81.    Gender-affirming treatment also requires a careful and thorough

assessment of a patient’s mental health, including co-occurring conditions, history

of trauma, and substance use, among many other factors (Olson-Kennedy, et al.,

2019; Edwards-Leeper and Spack, 2012). As a result, I have had patients who

presented with some symptoms of gender dysphoria, but who ultimately did not meet

                                              28

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 29 of 72




the diagnostic criteria for a variety of reasons, and therefore I recommended

treatments other than transition to alleviate their psychological distress. I have also

seen patients that did meet the diagnostic criteria for gender dysphoria but had

mental health impairments that precluded proceeding with gender affirming

hormonal and surgical care.

       82.    Studies on transgender young people have long reported data on co-

occurring conditions, including some of my own (e.g., Janssen, et al., 2019; Olson,

et al., 2015; Reisner, et al., 2015; Spack, et al., 2012; Mustanski, et al., 2010).

       83.    The existence—and prevalence—of co-occurring conditions among

transgender young people is unsurprising. Transgender young people must cope

with many stressors, from the fear of rejection by family and peers to pervasive

societal discrimination. Not to mention, their underlying gender dysphoria can cause

significant psychological distress which, if left untreated, can result in or exacerbate

the co-occurring conditions identified in studies on transgender young people (van

der Miesen, et al., 2020; Turban, et al., 2021). And, given that transgender young

people typically delay disclosing their transgender status or initially experience

family rejection following disclosure, it is not uncommon for transgender young

people to engage with psychological or psychiatric care for other reasons prior to

being diagnosed with gender dysphoria.




                                              29

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 30 of 72




       84.    Transgender young people, however, are not outliers in this regard.

Research and clinical experience show that most psychiatric conditions are highly

correlated with other co-occurring psychiatric conditions. For example, young

people with depression are very likely to have at least one other diagnosable

condition, most often anxiety (Costello, et al., 2003). Likewise, a study on children

diagnosed with Attention-Deficit/Hyperactivity Disorder found between 74-79%

participants had additional co-occurring psychiatric conditions (Wilens, et al., 2002).

       85.    Requiring that a transgender patient resolve all co-occurring conditions,

many of which are chronic with no reasonable expectation that they be “resolved,”

prior to receiving gender-affirming care is not possible, nor is it ethical. No relevant

organizations cite the need for co-occurring mental health conditions to be resolved

before a patient may receive gender-affirming care. Rather, such conditions should

be reasonably well-controlled and not impair the ability of the patient to make an

informed decision or interfere with the accuracy of the diagnosis of gender

dysphoria. Indeed, some co-occurring conditions (for example, Attention Deficit

Hyperactivity Disorder and Autism Spectrum Disorder, to name a few) could be

chronic disorders where complete resolution is impossible and the goal of treatment

is mitigating harm and improving functioning.

       86.    WPATH SOC 8 recommends that “mental health professionals address

mental health symptoms that interfere with a person’s capacity to consent to gender-

                                              30

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 31 of 72




affirming treatment before gender-affirming treatment is initiated,” but note that

“mental health symptoms such as anxiety or depressive symptoms that do not affect

the capacity to give consent should not be a barrier for gender-affirming medical

treatment, particularly as this treatment has been found to reduce mental health

symptomatology” (Coleman, et al., 2022). Indeed, SOC 8’s chapter on adolescents

specifically notes that “while addressing mental health concerns is important during

the course of treatment, it does not mean all mental health challenges can or should

be resolved completely” (Coleman, et al., 2022).

       87.    The Endocrine Society Guidelines similarly provide that because

gender dysphoria “may be accompanied with psychological or psychiatric

problems,” “in cases in which severe psychopathology” “interfere[s] with diagnostic

work or make[s] satisfactory treatment unlikely, clinicians should assist the

adolescent in managing these other issues” (Hembree, et al., 2017). The Guidelines

thus require that these issues be managed, not resolved.

       88.    Gender dysphoria, by definition, is accompanied by clinically

significant psychological distress. That distress can take on many different forms

(e.g., anxiety, mood disorders, and depression) and vary greatly in severity, resulting

in co-occurring conditions. Because psychological distress is not easily

compartmentalized, the distress associated with gender dysphoria can also amplify

co-occurring conditions that developed independently of the gender dysphoria. In

                                              31

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 32 of 72




either situation, gender dysphoria limits the effectiveness of treatment of any co-

occurring mental health conditions. Thus, treating the underlying gender dysphoria

is essential to alleviating the psychological distress associated with co-occurring

conditions.

   G. Efficacy of Gender-Affirming Treatment for Gender Dysphoria in
      Adolescents

       89.    “For some youth, obtaining gender-affirming medical care is

important while for others these steps might not be necessary.” (Coleman, et al.,

2022). In my clinical experience, some adolescent patients have a critical need for

medical interventions at or at some point after the onset of puberty and others do not.

As with all medical interventions, it is highly individualized and responsive to the

particular medical and mental health needs of each patient as well as the

understanding and preferences of the legal guardians who ultimately make these

healthcare decisions.

       90.    The criticisms of gender-affirming care for adolescents by Dr. Levine

and Defendants’ other designated experts reflect a distorted interpretation of the

relevant scientific literature and what gender-affirming care is. Despite Dr. Levine’s

and Defendants’ other designated experts’ suggestion to the contrary, there is no

“watchful waiting” approach for transgender adolescents. Even practitioners who

oppose social transition in childhood provide gender-affirming care for transgender



                                              32

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 33 of 72




adolescents, including puberty-delaying medication and gender-affirming hormone

treatments for gender dysphoria (Turban, et al., 2018; Ehrensaft, 2017).

       91.     Dr. Levine and Defendants’ other designated experts criticize the

methodology of studies supporting gender-affirming care while proposing a

“therapy only” treatment without any empirical or scientific support whatsoever.

They also fail to understand that not all patients in a gender-affirming model of care

will initiate medical or surgical care. The difference is that in the affirming care

model, those decisions are made in concert with the young person and their family.

       92.     Adolescents with gender dysphoria who have entered puberty may be

prescribed puberty-delaying medications (GnRHa) to prevent the distress of

developing permanent, unwanted physical characteristics that do not align with the

adolescent’s gender identity. Puberty-delaying medications allow the adolescent

time to better understand their gender identity, while delaying distress from the

progression of the development of secondary sex characteristics such as breasts or

facial hair.

       93.     Prior to initiation of puberty-delaying medications, providers counsel

patients and their families extensively on potential benefits and risks. The intended

benefit of treatment is to reduce the risk of worsening gender dysphoria and mental

health deterioration. More specifically, use of puberty-delaying medications in

transmasculine adolescents allows for decreased chest development, reducing the

                                              33

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 34 of 72




need for breast binding and surgical intervention in adulthood. For transfeminine

adolescents, puberty-delaying medications limit facial and body hair growth, voice

deepening, and masculine bone structure development, which greatly reduce distress

both at the time of treatment and later in life and reduce the need for later

interventions such as voice therapy, hair removal, and facial feminization surgery.

The goal in using puberty-delaying medications is to minimize the patient’s

dysphoria related to progression of puberty and allow for later initiation of puberty

consistent with gender identity. The pubertal stage and individual needs of the

patient direct conversations regarding care options.

       94.    A growing body of evidence, including peer-reviewed cross-sectional

and longitudinal studies, demonstrates the positive impact of pubertal suppression

in adolescents with gender dysphoria on psychological functioning and quality of

life, including a decrease in behavioral and emotional problems, a decrease in

depressive symptoms, and improvement in general functioning (e.g., Achille, et al.,

2020; Turban, et al., 2020a; van der Miesen, et al., 2020; Costa, et al., 2015; de Vries,

et al., 2011b). Furthermore, studies show improvements in body satisfaction with

gender-affirming treatment, and the extant literature recognizes that the body

satisfaction is a mediator for improved quality of life and mental health outcomes.

(Chen, et al., 2023).




                                              34

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 35 of 72




       95.    In my own practice, I have had patients describe pubertal suppression

as life saving and a vast majority have experienced a great deal of relief when the

treatment is initiated. In contrast to Dr. Levine’s assertion that starting pubertal

suppression is a one-way road to hormones, I have also had patients who, through

gender affirming psychotherapy, came to understand their gender identity to be

congruent with their sex assigned at birth and discontinued this treatment with a

resumption of puberty. While each patient and each family is unique, a thorough

assessment and a clear discussion of the risks, benefits and alternatives of this

interventions is consistent among all of my patients.

       96.    After ongoing work with mental health professionals and when the

adolescent has lived in accordance with their gender identity for a significant period

of time, they may start treatment with hormones (testosterone for transgender boys,

estrogen and testosterone suppressants for transgender girls), if and when medically

indicated.

       97.    There is no credible basis for Dr. Levine’s assertion that an adolescent’s

decision to begin puberty-blocking medication “act[s] as a psychosocial ‘switch,’

decisively shifting many children to a persistent transgender identity.” (Levine

Report, ¶133). Studies showing that a high percentage of transgender adolescents

who receive puberty blockers ultimately decide to move forward with gender-

affirming hormone therapy more likely reflect the fact that participants were

                                              35

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 36 of 72




rigorously screened and had demonstrated sustained, persistent gender dysphoria

before receiving medical treatment.

       98.    Eligibility and medical necessity are determined case-by-case, based on

an assessment of the adolescent’s unique cognitive and emotional maturation and

ability to provide a knowing and informed assent in addition to the informed consent

of the legal medical decision maker, most often the parent or guardian. The decision

would be made only after a careful review with the youth and parents/guardians of

the potential risks and benefits of hormone therapy.

       99.    Under SOC 8 and the Endocrine Society Clinical Guidelines, hormone

therapy is an appropriate treatment for transgender adolescents with gender

dysphoria when the experience of dysphoria is marked and sustained over time, the

adolescent demonstrates emotional and cognitive maturity required to provide and

informed consent/assent for treatment, other mental health concerns (if any) that may

interfere with diagnostic clarity and capacity to consent have been addressed, and

the adolescent has discussed reproductive options with their provider. SOC 8 also

highlights the importance of involving parent(s)/guardian(s) in the assessment and

treatment process for minors (Coleman, et al., 2022; Hembree, et al., 2017).

       100. As with puberty-delaying medications, the risks and benefits of

hormone treatment are discussed with the patient and their families, prior to

initiation of gender affirming hormone therapy.

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EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 37 of 72




       101. And, as with the use of puberty-delaying medications, treatment of

gender dysphoria with testosterone or estrogen is highly beneficial for both short-

term and long-term psychological functioning of adolescents with gender dysphoria

and withholding treatment from those who need it is harmful (e.g., Achille, et al.,

2020; Allen, et al., 2019; Chen, et al., 2023; de Lara, et al., 2020; de Vries, et al.,

2014; Grannis, et al., 2021; Green, et al., 2022; Kaltiala, et al., 2020; Kuper, et al.,

2020).

       102. In my own practice, I have seen youth with severe gender dysphoria

who avoided all social contacts who were able to thrive with the initiation of gender

affirming hormones and feel confident with the changes seen as they developed

secondary sex characteristics aligned with their gender identity. I have seen my

patients start hormones and find themselves more able to build social and romantic

relationships, and begin to address underlying co-occurring psychiatric disorders.

       103. For some older transgender adolescents, surgery may be provided prior

to age 18 if medically indicated (typically, chest surgery for transgender male

adolescents). Peer-reviewed research has also shown improvements in mental health

following gender-affirming chest surgery for transgender males with gender

dysphoria where medically indicated (Mehringer, et al., 2021; Olson-Kennedy, et

al., 2018).




                                              37

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 38 of 72




       104. As part of the treatment process for gender dysphoria, adolescent

patients provide assent to their care, while their parents or guardians provide

informed consent. In addition, a treating doctor will not offer gender-affirming

medical treatments unless they have concluded after weighing the risks and benefits

of care for the specific patient that treatment is appropriate. The risks and benefits

of care are discussed with the adolescent patient and their family. This process is no

different than the informed consent process for other medical treatments. However,

for gender-affirming medical care, there is the additional safeguard of the

recommended assessments by a mental health care professional, who must not only

be experienced in the assessment of gender dysphoria, but also in the assessment of

a patient’s capacity to consent/assent to treatment and ability to understand the risks

and benefits of treatment. Indeed, SOC 8 notes that mental health professionals are

the best positioned practitioners to conduct these assessments for adolescents and

also recommends that a mental health professional address any mental health issues

that may interfere with a patient’s ability to consent prior to the initiation of gender-

affirming care.

       105. Dr. Levine and Dr Kaliebe fail to discuss many of the studies

documenting the benefits of puberty-delaying medication and gender-affirming

hormone therapy (Chen, et al., 2023; de Vries, 2023).             When viewed as a

comprehensive body of research, the weight of the evidence and the experience of

                                              38

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 39 of 72




clinicians as well as from the experience of patients has demonstrated that puberty-

delaying medication and hormones have been associated with a variety of mental

health benefits across different contexts (Chen, et al., 2023).

       106. Dr. Levine and Dr. Kaliebe also criticize the quality of evidence

supporting treatment of gender dysphoria. (See, e.g., Levine Report, at ¶¶136-141;

Kaliebe Report, at 45-70). But treatments for gender dysphoria have the same or

similar level of evidentiary support as many other well-established treatment

protocols in psychiatry—and other disciplines of medicine. The evidentiary basis for

those treatment protocols is developed, and regularly updated, using a combination

of peer-reviewed research and the extensive clinical experience of providers who

regularly treat patients with that condition. Those treatment protocols are considered

the standard of care and are safe and effective for the conditions they are intended

to treat.

       107. Dr. Levine also suggests that the lack of FDA approval of gender-

affirming medical treatments for these specific uses indicates that the treatments are

not supported by evidence of safety. (See, e.g., Levine Repport, ¶179). But off-label

use of medication is common in medicine, especially treatments for children and

adolescents. For example, in children, Zoloft is FDA approved to treat Obsessive-

Compulsive Disorder, but is also regularly used to treat depression and anxiety, such

that the use of Zoloft is considered the standard of care for children who require

                                              39

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 40 of 72




medication to treat those conditions despite the lack of FDA approval for those

indications.

       108. In their reports, Dr. Levine and Dr. Kaliebe present a distorted picture

of the gender affirming model of care where they imply that gender-affirming care

requires the unquestioned and automatic affirmation of an adolescent’s desires. But

gender-affirming medical care such as GAH is only provided to an adolescent after

working with the adolescent and their parents/guardians, who are the ones who

provide the informed consent. Indeed, in my practice, I have had patients with

unrealistic expectations of the impact of testosterone or estrogen including on a

belief that initiation of gender affirming medical care would eradicate any co-

occurring psychiatric disorders despite many of these being chronic and predating

any symptoms of gender dysphoria. But in accordance with SOC 8 and Endocrine

Society Guidelines, the gender-affirming model of care requires that these patients

be provided with additional psychotherapy and psychoeducation to determine the

appropriateness of moving forward, and for some of these youth a delay in initiation

of hormones, or even potentially a recommendation to not pursue hormones, is

aligned with the gender affirming model of care.




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EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 41 of 72




   H. Assessment and Treatment of Gender Dysphoria in Adults

       109. In the DSM-5, the diagnostic criteria for Gender Dysphoria are shared

by adolescents and adults. The assessment and treatment of a gender dysphoric

adolescent is very similar to the assessment of the gender dysphoric adult.

       110. As with any condition that typically presents with symptoms in

childhood or adolescence, collateral information from caregivers, partners,

employers, etc. is often useful in informing the initial diagnostic assessment. For

children and adolescents, the legal structures of consent and assent as well as best

practice and ethics of care require parental involvement in ongoing mental health

care, and standard practice is to gather history of the child from the parent and

guardian. For adults, the individual patient can make decisions about whom they

want involved in their care. That said, the assessment process of gathering a detailed

history and developing a biopsychosocial assessment takes the same factors into

account as one does with adolescents. And similar to adolescents, the risks, benefits

and alternatives to social transition, hormonal care and surgical options are weighed

in collaboration with the patient prior to making any recommendations. The

evidence supporting this process of assessment and care is documented in the

plaintiffs’ experts’ reports.

       111. Despite that the Challenged Exclusion impacts the ability of both

adolescent and adult Medicaid beneficiaries to get coverage, and therefore get

                                              41

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 42 of 72




access, to medical treatment for gender dysphoria, neither Drs. Levine nor Kaliebe

address the impact of losing access to medical care for transgender adults in the state

of Florida. This same flaw characterizes all of the defendants’ designated experts’

reports, as well as the GAPMS Memo itself.

       112. Their reports focus primarily on pre-pubertal youth, which are not

subject to this ban, and seek to call into question practices in assessing and treating

transgender adolescents. This report seeks to rebut their mischaracterization of the

current standard of care for transgender adolescents as well as the

mischaracterization of the current standard of care for transgender adults. However,

neither expert in their report sought to undermine the evidence base for the treatment

of transgender adults and Dr. Levine even acknowledges the benefit of hormonal

and surgical care for some adults.

   I. Additional Responses to Defendants’ Designated Experts

       113. In his report, Dr. Kaliebe states that the Chen et al. study did not address

the suicides in the study population and that “the most research shows a much higher

than expected rate of suicide in the condition of affirmative hormone treatment.”

(Kaliebe Repport, at ¶70). This is not true. For one, the Chen et al. study looked at

the study population at baseline (pre-intervention), which shows that 66% endorsed

lifetime suicidal ideation; 29% endorsed lifetime suicidal ideation with a plan, and

a full 25% had reported having already had at least one suicide attempt prior to

                                              42

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 43 of 72




engaging in care. This is not much different from the suicide completion rate in the

Ghent clinic (5/235) compared to the NIH 4 site (2/315). For another, Dr. Kaliebe

compares the study population in Chen et al. to apparent suicides of transgender

youth purportedly associated with the Gender Identity Development Service (GIDS)

in the United Kingdom. For these numbers, Dr. Kaliebe cites to a letter to the editor

from a sociologist, not a peer-reviewed study or a letter from someone experienced

in this care. But two of the GIDS youth never saw a doctor for gender-affirming

care, and there is no evidence the two others were receiving care. What is more,

even the letter to the editor Dr. Kaliebe cites states: “One final caveat is that these

data shed no light on the question of whether counseling or endocrinological

interventions—gonadotropin-releasing hormone agonist or cross-sex hormones—

affect the risk of suicide.” (Biggs, 2022).

       114. Defendants’ designated experts, including several who are not mental

health professionals, continue to misconstrue the practice of psychiatry and

misunderstand what occurs in a mental health assessment. They indicate that mental

health clinicians believe without scrutiny what a patient is telling them on face value.

In fact, mental health professionals are trained to assess not just the words being

said, but also to recognize behaviors, gather collateral data from other informants,

and assess the meaning of the inherent disparities between these various data points

to help understand the patient’s experience. These assessments require training and

                                              43

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 44 of 72




skill which the non-mental health providers lack. As an example, it is not uncommon

for a patient to deny suicidal intent despite having clear risk factors – this denial

occurs even after some have been discovered post-suicide attempt. To argue that

highly trained clinicians simply believe everything a patient says is a farce.

Furthermore, many of the defendants’ experts attempt to invalidate Gender

Dysphoria, as well as nearly all psychiatric diagnoses because these diagnoses rely

on a patient’s description of their symptoms to make the diagnosis. Every mental

condition, and many physical conditions, rely on the patient’s self-expressed

disclosure of phenomenology. Do migraines not exist because they require patient

self-report? Is depression not a cause of disability unless there is a blood test to

diagnose it? Did auto-immune encephalitis not exist as a phenomenon until the

antibody test was developed? Mental health providers, as well as all physicians rely

on patient reports of symptoms and an exercise of independent judgment based on

training and experience to make a diagnosis.

       115. Dr. Kaliebe criticizes AACAP for purportedly being inconsistent about

the capacity of minors, suggesting there is a discrepancy between their arguments

protecting adjudicated youth vis-à-vis the ability of transgender youth to obtain care.

But this criticism has no basis and is more indicative of Dr. Kaliebe’s lack of

experience and familiarity with this field. In its amicus brief, AACAP argued the

U.S. Supreme Court should have taken adolescents’ mental capacity into account

                                              44

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 45 of 72




when evaluating the question of whether adjudicated youth should be sentenced to

life without the possibility of parole. Not only is the context of gender-affirming

medical care entirely inapposite, but in such context, adolescents do not make

decisions on their own. In order to access gender-affirming medical care, the

adolescents work in conjunction with their parents/legal guardians and their doctors.

And while adolescents provide assent to care, it is their parents/legal guardians who

provide consent.

       116. There appears to be a consistent lack of understanding of the consent

process for pediatric medical care among the defendants’ designated experts. This is

most starkly demonstrated in Dr. Hruz’s report. In his report, he highlights many

potential reasons why adolescents may be unable to provide consent to gender

affirming care. However, he neglects to understand that minors do not consent to

gender affirming care. Parents/legal caregivers and at time the state maintain the

capacity to consent on behalf of the adolescent, who depending on their age may

provide assent. While his arguments are spurious, they are also irrelevant to the

matter at hand.

       117. Furthermore, there are also misstatements about the impact of

psychiatric diagnoses on the capacity to consent. In Dr. Hruz’s report, he notes

“individuals with transgender identity who also have clinical depression or other

serious psychiatric comorbidity may have limited capacity to objectively weigh

                                              45

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 46 of 72




proposed clinical interventions with potentially irreversible consequences and would

therefore fail to meet psychological abilities criteria.” (Hruz Report, at ¶ 103). His

reference justifying this sentence is an ethics analysis of participation in clinical

research not in clinical care, and makes no reference to “psychological abilities

criteria,” which may sound official but has no bearing on evidence-based

assessments of capacity to consent. Dr. Hruz further mischaracterizes Helmchen’s

paper which speaks specifically about excluding patients with “suicidal intentions”

which is a separate phenomenology than clinical depression.

       118. Similarly, Dr. Lappert reports “as is known by all surgeons, it is

considered imprudent to obtain informed consent from patients suffering from

psychological conditions that provoke the patient to acts of self-harm, or to suicidal

ideation.” (Lappert Report, at ¶69). This uncited assertion is drawn from ignorance

about the capacity to consent to care for psychiatric patients. First, capacity to

consent is specific to the intervention at hand. While a patient with suicidal ideation

may lack capacity to end life-saving medical care, they may still retain capacity to

consent to an appendectomy. To assume that all patients with psychiatric illness lack

capacity to consent across all contexts is both unfounded and unethical.

       119. Even in the context of clinical research, when the question of retention

of capacity is actually studied as opposed to assumed it is of concern, individuals

with both severe depression and schizophrenia demonstrate relatively high-decision

                                              46

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 47 of 72




making capacity as measured by the MacArthur Competence Assessment Tool-

Clinical Research (Cohen, et al., 2004).

       120. Dr. Kaliebe makes an assertion that medical academies are

delegitimizing and politicizing care by convening expert committees to advise the

organization on a topic. But this is well within the norms of academic medicine and

speaks to a wish to be informed by experts in the field; it is not evidence of

malfeasance. Speaking from personal experience as a member of several committees

on transgender health, professional disagreements and debates about approaches,

practices and priorities for care and research are commonplace, and dissenting

opinions are welcomed, particularly when informed by their own expertise and a fair

review of the literature.

       121. Dr. Laidlaw makes many of the same mistakes about consent as the

other experts, namely mistaking that children consent to gender affirming medical

and surgical care. But he goes further and notes that in his opinion, even parents are

unable to provide consent because the full accounting of the potential risks is,

according to him, unknown. If Dr. Laidlaw’s rubric were to be applied to the rest of

medicine, medicine would never evolve. There are inherent unknown risks to every

intervention, and it is the role of the provider to incorporate what is known and what

is not known about these risks into a discussion about informed assent and informed

consent. Moreover, the fact that we do not know everything about an intervention

                                              47

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 48 of 72




does not make that intervention experimental. In medicine and in science, every day

we discover something and with the advent of new techniques or investigative tools

we are able to learn new information about the effects of well-established and

longstanding medical interventions. None of this renders a medical intervention to

be experimental.

       122. Additionally, Dr. Laidlaw spends much of his report opining on the

appropriateness of the psychiatric care of the patients involved in this case. However,

Dr. Laidlaw is not a psychiatrist and has no authority to comment on the psychiatric

care of either patient. It is unethical for him to do so.

   J. Prohibiting Access to Gender-Affirming Care Harms Transgender
      People

       123. Defendants’ experts completely ignore the harms associated with

prohibiting access to gender-affirming care to adolescents and adults with gender

dysphoria for whom it is necessary and appropriate. They also ignore the harmful

effects of governmental like the Challenged Exclusion adopted by Defendants.

       124. The overarching goal of treatment for gender dysphoria is to eliminate

clinically significant distress. For some, this is achieved by aligning an individual

patient’s body and presentation with their internal sense of self. The denial of

medically indicated care to transgender adolescents and adults not only frustrates

this goal and results in the prolonging of their gender dysphoria, but also causes



                                              48

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 49 of 72




additional distress and poses other health risks, such as depression, trauma, self-

harm, and suicidality.

       125. Defendants and their designated experts not only ignore the volumes of

data showing the efficacy of gender-affirming medical care, but they also cannot

deny that there are transgender adolescents that persist into transgender adults and

who benefit from this care. But notwithstanding this latter undeniable fact neither

Defendants nor their designated experts are interested in a nuanced discussion about

prevalence, process, or technique, instead they advocate for a complete bar to the

coverage of this safe, efficacious, and medically necessary care for all transgender

adolescents and adults.

       126. Lack of access to gender-affirming care therefore directly contributes

to poorer mental health outcomes for transgender people (Owen-Smith, et al., 2018).

       127. It is also well documented that experiencing discrimination has

negative impacts on people’s mental health and wellbeing. For example, a 2019

study found that experiencing discrimination in health care settings posed a unique

risk factor for heightened suicidality among transgender individuals, a population

already at heightened risk compared with the general population (Herman, et al.,

2019). And of note, the 2022 National Survey on LGBTQ Youth Mental Health

found that LGBTQ youth who had experienced discrimination based on sexual




                                              49

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 50 of 72




orientation or gender identity had attempted suicide in the past year at nearly three

times the rate as those who had not (19% vs. 7%) (The Trevor Project, 2022).

       128. In addition, the 2022 National Survey on LGBTQ Youth Mental Health

found that 93% of transgender and nonbinary youth said that they have worried about

transgender people being denied access to gender-affirming medical care due to state

or local laws (The Trevor Project, 2022).

       129. Research has shown that the mere introduction, debate, and adoption of

discriminatory laws and policies like the Challenged Exclusion negatively affects

the mental health of transgender youth. A prospective study with sexual minority

populations found that living in states with discriminatory policies was associated

with a statistically significant increase in the number of psychiatric disorder

diagnoses (Hatzenbuehler, et al., 2010). Other studies “shown that restrictive laws

and policies are related to destructive health behaviors on the part of transgender

individuals” (Cunningham, et al., 2022; Du Bois, et al., 2018).

       130. Recent studies show the negative toll that anti-LGBTQ measures, like

the Challenged Exclusion, and debates surrounding them have had on the mental

health of transgender youth. For example, in a survey of youth in November 2022,

86% of transgender and nonbinary youth said that the debates about anti-transgender

bills had negatively impacted their mental health (Movement Advancement Project,

2023; The Trevor Project and Morning Consult, 2023). And a study from 2022,

                                              50

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 51 of 72




though with limitations, showed that the passage of anti-transgender bills is linked

with Internet searches related to depression and suicide (Cunningham, et al., 2022).

       131. Perhaps, more poignantly, those of us with clinical experience hear

from our patients about how it feels to be targeted with this kind of legislation. As

two of my transgender patients expressed to me within the past few weeks, “why

does everyone hate me just for existing?” and “it’s a hard time to be transgender

right now.”

                                      CONCLUSION

       132. By denying coverage and therefore access to necessary, safe, and

effective medical care as treatment for gender dysphoria, the Challenged Exclusion

endangers the mental health and well-being of transgender Medicaid beneficiaries

in Florida.

       133. Defendants and their designated experts, who for the most part have no

experience in transgender health, not only ignore the robust evidence for the

potential harm faced by transgender individuals when barred access to medically

necessary gender-affirming care, but they also mischaracterize, misapprehend, and

even ignore the robust body of evidence showing that gender-affirming medical care

is safe, effective, and not experimental or investigational.




                                              51

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 52 of 72




       I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

       Executed this ___
                     9th day of March 2023.




                                                   Aron Janssen, M.D.




                                              52

EXPERT REBUTTAL REPORT OF DR. ARON C. JANSSEN
Dekker v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.)
  Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 53 of 72




                                Exhibit A
                        Curriculum Vitae




EXPERT REPORT OF ARON C. JANSSEN, M.D.
Case No. 4:22-cv-00325-RH-MAF
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 54 of 72



                                    Curriculum Vitae

                                    Aron Janssen, M.D.
                                      312-227-7783
                                   aronjans@gmail.com

Personal Data

Born                        Papillion, Nebraska
Citizenship                 USA

Academic Appointments
2011-2017    Clinical Assistant Professor of Child and Adolescent Psychiatry
2011-2019    Founder & Clinical Director, NYU Gender and Sexuality Service
             Director, LGBT Mental Health Elective, NYULMC
2015-2019    Co-Director, NYU Pediatric Consultation Liaison Service
             New York University Department of Child and Adolescent Psychiatry
2017-present Clinical Associate Professor of Child and Adolescent Psychiatry
2019-present Vice Chair, Pritzker Department of Psychiatry and Behavioral Health
             Ann and Robert H. Lurie Children’s Hospital of Chicago
2020-present Medical Director, Outpatient Psychiatric Services
             Ann and Robert H. Lurie Children’s Hospital of Chicago

Education
Year          Degree               Field                 Institution
6/97          Diploma                                    Liberty High School
5/01          B.A.                 Biochemistry          University of Colorado
5/06          M.D.                 Medicine              University of Colorado

Postdoctoral Training
2006-2009 Psychiatry Residency      Ze’ev Levin, M.D. NYU Department of Psychiatry
2009-2011 Child and Adolescent Psychiatry Fellowship – Fellow and Clinical Instructor
                                    Jess Shatkin, M.D. NYU Dept of Child/Adolescent Psychiatry
Licensure and Certification
2007-2018           New York State Medical License
2017-present        Illinois Medical License
2011-present        Certification in Adult Psychiatry, American Board of Psychiatry and Neurology
2013-present        Certification in Child and Adolescent Psychiatry, ABPN

Academic Appointments
2009-2011        Clinical Instructor, NYU Department of Child and Adolescent Psychiatry
2011-2017        Clinical Asst Professor, NYU Dept of Child and Adolescent Psychiatry
2017-2019        Clinical Assoc Professor, NYU Dept of Child and Adolescent Psychiatry
2011-2019        Clinical Director, NYU Gender and Sexuality Service
2015-2019        Co-Director, NYU Pediatric Consultation-Liaison Service
2019-present     Associate Professor of Child and Adolescent Psychiatry, Northwestern University
2019-present     Vice Chair of Clinical Affairs, Pritzker Department of Psychiatry and Behavioral
                 Health, Lurie Children’s Hospital of Chicago

                                           1
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 55 of 72



Major Committee Assignments

International, National and Regional
        2021-present          Sexual Orientation and Gender Identity Committee, Chair, AACAP
        2019-present          WPATH Standards of Care Revision Committee, Children
        2019-present          WPATH Standards of Care Revision Committee, Adult Mental Health
        2015-2019             Department of Child Psychiatry Diversity Ambassador
        2013-2021             Sexual Orientation and Gender Identity Committee Member, AACAP
        2012-2019             Founder and Director, Gender Variant Youth and Family Network
        2012-present          Association of Gay and Lesbian Psychiatrists, Transgender Health
                              Committee
        2012-2019             NYULMC, Chair LGBTQ Advisory Council
        2012-2019             NYULMC, Child Abuse and Protection Committee
        2013-2015             NYULMC, Pediatric Palliative Care Team
        2003-2004             American Association of Medical Colleges (AAMC), Medical Education
                              Delegate
        2004-2006             AAMC, Western Regional Chair
Psychiatry Residency
        2006-2009             Resident Member, Education Committee
        2007-2008             Resident Member, Veterans Affairs (VA) Committee
Medical School
        2002-2006             Chair, Diversity Curriculum Development Committee
        2002-2006             AAMC, Student Representative
        2003-2004             American Medical Student Assoc. (AMSA) World AIDS Day Coordinator
        2003-2004             AMSA, Primary Care Week Coordinator
        2004-2006             Chair, Humanism in Medicine Committee

Memberships, Offices, and Committee Assignments in Professional Societies
     2006-present         American Psychiatric Association (APA)
     2009-present         American Academy of Child and Adolescent Psychiatry (AACAP)
     2011-present         World Professional Association for Transgender Health (WPATH)
     2011-2019            Director, Gender Variant Youth and Family Network, NYC
     2013-2019            Chair, NYU Langone Medical Center LGBTQ Council

Editorial Positions
       2016-2018           Clinical Assistant Editor, Transgender Health
       2014-present        Ad Hoc Reviewer, LGBT Health.
       2016-present        Ad Hoc Reviewer, JAACAP
       2018-present        Associate Editor, Transgender Health
       2020-present        Ad Hoc Reviewer, Pediatrics

Principal Clinical and Hospital Service Responsibilities
       2011-2019           Staff Psychiatrist, Pediatric Consultation Liaison Service
       2011-2019           Faculty Physician, NYU Child Study Center
       2011-2019           Founder and Clinical Director, NYU Gender & Sexuality Service
       2015-2019           Co-Director, Pediatric Consultation Liaison Service
       2019-present        Vice Chair, Pritzker Dept of Psychiatry and Behavioral Health
       2019-present        Chief Psychiatrist, Gender Development Program

                                         2
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 56 of 72


       2020-present          Medical Director, Outpatient Psychiatry Services

Relevant Program Development
      Gender and Sexuality Service
             -founded by Aron Janssen in 2011, who continues to direct the service
             -first mental health service dedicated to transgender youth in NYC
             -served over 200 families in consultation, with 2-3 referrals to the gender clinic
                     per week
             -trained over 500 mental health practitioners in transgender mental health – 1 or
                     2 full day trainings in partnership with the Ackerman Institute’s Gender and
                     Family Project (GFP) and with WPATH Global Educational Initiative (GEI)
             -New hires in Adolescent Medicine, Psychology, Plastic Surgery, Urology, Gynecology,
                     Endocrinology, Social Work, Department of Population Health with focus on
                     transgender care has led to expansion of available services for transgender youth
                     at NYULMC in partnership with the Gender and Sexuality Service
             -development of partnerships with Ackerman Institute, Callen-Lorde Health Center –
                     both institutions have been granted access to our IRB and have agreed to develop
                     shared research and clinical priorities with the Gender and Sexuality Service.
             -multiple IRB research projects underway, including in partnership with national and
                     international clinics
             -model has been internationally recognized


Clinical Specialties/Interests
       Gender and Sexual Identity Development
       Co-Occurring Mental Health Disorders in Transgender children, adolescents and adults
       Pediatric Consultation/Liaison Psychiatry
       Psychotherapy
               -Gender Affirmative Therapy, Supportive Psychotherapy, CBT, MI

Teaching Experience
      2002-2006     Course Developer and Instructor, LGBT Health (University of Colorado School
            of Medicine
      2011-2019     Instructor, Cultural Competency in Child Psychiatry (NYU Department of Child
            and Adolescent Psychiatry) – 4 hours per year
      2011-2019     Course Director, Instructor “Sex Matters: Identity, Behavior and Development” –
            100 hours per year
      2011-2019     Course Director, LGBT Mental Health Elective (NYU Department of Psychiatry)
            - 50 hours of direct supervision/instruction per year
      2011-2019     Course Director, Transgender Mental Health (NYU Department of Child and
            Adolescent Psychiatry – course to begin in Spring 2018.
      2015-2019     Instructor, Gender & Health Selective (NYU School of Medicine) – 4 hours per
            year.

Academic Assignments/Course Development
     New York University Department of Child and Adolescent Mental Health Studies
            -Teacher and Course Director: “Sex Matters: Identity, Behavior and Development.”
                   A full semester 4 credit course, taught to approximately 50 student per year since
                   2011, with several students now in graduate school studying sexual and gender

                                           3
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 57 of 72


                     identity development as a result of my mentorship.

      NYU Department of Child and Adolescent Psychiatry
            -Instructor: Cultural Competency in Child and Adolescent Psychiatry
            -Director: LGBTQ Mental Health Elective
      World Professional Association of Transgender Health
            -Official Trainer: Global Education Initiative – one of two child psychiatrists charged
                    with training providers in care of transgender youth and adults.

Peer Reviewed Publications
            1. Janssen, A., Erickson-Schroth, L., “A New Generation of Gender: Learning Patience
                from our Gender Non-Conforming Patients,” Journal of the American Academy of
                Child and Adolescent Psychiatry, Volume 52, Issue 10, pp. 995-997, October, 2013.
            2. Janssen, A., et. al. “Theory of Mind and the Intolerance of Ambiguity: Two Case
                Studies of Transgender Individuals with High-Functioning Autism Spectrum
            3. Janssen A, Huang H, and Duncan C., Transgender Health. February 2016, “Gender
                Variance Among Youth with Autism: A Retrospective Chart Review.” 1(1): 63-68.
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            Next Generation of Psychiatrists,” 23rd Symposium of the World Professional
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        4. Janssen, A., “When Gender and Psychiatric Acuity/Comorbidities Overlap:
            Addressing Complex Issues for Gender Dysphoric and Non-Conforming
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        5. Janssen, A., “Patient Experiences as Drivers of Change: A unique model for
            reducing transgender health disparities as an academic medical center,”
            Philadelphia Transgender Health Conference, June 2016.
        6. Janssen, A., “How much is too much? Assessments & the Affirmative Approach to
            TGNC Youth,” 24th Symposium of the World Professional Association for
            Transgender Health, Amsterdam, The Netherlands, June 2016.
        7. Janssen, A., “Trauma, Complex Cases and the Role of Psychotherapy,” 24th
            Symposium of the World Professional Association for Transgender Health,
            Amsterdam, The Netherlands, June 2016.
        8. Janssen, A., “Gender Variance Among Youth with Autism: A Retrospective Chart
            Review,” Research Poster, 24th Symposium of the World Professional Association
            for Transgender Health, Amsterdam, The Netherlands, June 2016.
        9. Janssen, A., “Gender Fluidity and Gender Identity Development,” Center for
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        10. Janssen, A., “Transgender Identities Emerging During Adolescents' Struggles
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        11. Janssen, A., “How Much is Too Much? Assessments and the Affirmative
            Approach to Transgender and Gender Diverse Youth,” US Professional
            Association for Transgender Health Inaugural Conference, Los Angeles,
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        12. Janssen, A., “Trauma, Complex Cases and the Role of Psychotherapy,” US
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            Disorders from the Bible Belt to New York City,” AACAP Annual
            Conference, October 2017.
        15. May 2018: “A Primer in Working with Parents of Transgender Youth,” APA Annual
            Meeting.
        16. October 2018: “Gender Dysphoria Across Development” – Institute for AACAP
            Annual Conference.

                                    6
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 60 of 72


             17. November 2018: “Gender Variance Among Youth with Autism,” World Professional
                 Association for Transgender Health Biannual Conference.
             18. March 2019: “Gender Trajectories in Child and Adolescent Development and
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             19. Janssen, A., et. al., “Ethical Principles in Gender Affirming Care,” AACAP
                 Annual Conference, October 2019.
             20. Janssen, A., “Gender Diversity and Gender Dysphoria in Youth,” EPATH
                 Conference, April 2019
             21. Englander, E., Janssen A., et. al., “The Good, The Bad, and The Risky: Sexual
                 Behaviors Online,” AACAP Annual Conference, October 2020
             22. Englander, E., Janssen, A., et. al., “Love in Quarantine,” AACAP Annual
                 Conference, October 2021
             23. Janssen, A., Leibowitz, S., et. al., “The Evidence and Ethics for Transgender
                 Youth Care: Updates on the International Standards of Care, 8th Edition,”
                 AACAP Annual Conference, October 2021
             24. Turban, J., Janssen, A., et. al., “Transgender Youth: Understanding
                 “Detransition,” Nonlinear Gender Trajectories, and Dynamic Gender
                 Identities,” AACAP Annual Conference, October 2021
             25. Hoffmann JA, Pergjika, A, Liu X, Janssen AC, Walkup JT, Alpern ER,
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                 Acute Agitation Management in the Emergency Department. Oral Abstract
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                 Transgender and Gender Nonbinary Youth,” World Professional Association
                 of Transgender Health 27th Scientific Symposium, September 2022.
             27. Tishelman, A., Janssen A., et. al., WPATH Standards of Care – “Child
                 Chapter,” World Professional Association of Transgender Health 27th
                 Scientific Symposium, September 2022
             28. Janssen, A., Leibowitz, S., et al, “The Evidence and Ethics for Transgender
                 Youth Care: Updates on the New International Standards of Care, Eighth
                 Edition. AACAP Annual Conference, October 2022.
             29. Turban, J., Janssen, A., et al, “Transgender Youth: Evolving Gender Identities
                 and “Detransition,” AACAP Annual Conference, October 2022.


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               Transgender and Gender Diverse Youth: A Clinical Casebook, Springer
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Book Chapters
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               for Child and Adolescent Psychiatric Disorders, 3rd Edition, Marcel Dekker,
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            2. Janssen, A; Liaw, K: “Not by Convention: Working with People on the Sexual
               & Gender Continuum,” book chapter in The Massachusetts General Hospital
               Textbook on Cultural Sensitivity and Diversity in Mental Health. Humana
               Press, New York, Editor R. Parekh, January 2014.

                                        7
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 61 of 72


             3. Janssen, A; Glaeser, E., Liaw, K: “Paving their own paths: What kids & teens
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                 Sensitivity in Child and Adolescent Mental Health, MGH Psychiatry
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             4. Janssen A., “Gender Identity,” Textbook of Mental and Behavioral Disorders
                 in Adolescence, February 2018.
             5. Busa S., Wernick, J., & Janssen, A. (In Review) Gender Dysphoria in
                 Childhood. Encyclopedia of Child and Adolescent Development. Wiley, 2018.
             6. Janssen A., Busa S., “Gender Dysphoria in Childhood and Adolescence,”
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                 Editors Driver D., Thomas, S., 2018.
             7. Wernick J.A., Busa S.M., Janssen A., Liaw K.RL. “Not by Convention:
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                 Sensitivity in Mental Health, editors Parekh R., Trinh NH. August, 2019.
             8. Weis, R., Janssen, A., & Wernick, J. The implications of trauma for sexual
                 and reproductive health in adolescence. In Not Just a nightmare: Thinking
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             9. Connors J., Irastorza, I., Janssen A., Kelly, B., “Child and Adolescent
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                 LGBTQ Health, editors Lehman J., et al. November 2019.
             10. Janssen, A., et. al., “Gender and Sexual Diversity in Childhood and
                 Adolescence,” Dulcan’s Textbook of Child and Adolescent Psychiatry, 3rd
                 edition, editor Dulcan, M., (in press)
             11. Busa S., Wernick J, Janssen, A., “Gender Dysphoria,” The Encyclopedia of
                 Child and Adolescent Development, DOI: 10.1002/9781119171492. Wiley,
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Invited Academic Seminars/Lectures
             1. April 2006: “How to Talk to a Gay Medical Student” – presented at the National
                AAMC Meeting.
             2. March 2011: “Kindling Inspiration: Two Model Curricula for Expanding the Role of
                Residents as Educators” – workshop presented at National AADPRT Meeting.
             3. May 2011: Janssen, A., Shuster, A., “Sex Matters: Identity, Behavior and
                Development,” Grand Rounds Presentation, NYU Department of Child and
                Adolescent Psychiatry.
             4. March 2012: Janssen, A., Lothringer, L., “Gender Variance in Children and
                Adolescents,” Grand Rounds Presentation, NYU Department of Child and Adolescent
                Psychiatry.
             5. June 2012: Janssen, A., “Gender Variance in Childhood and Adolescence,” Grand
                Rounds Presentation, Woodhull Department of Psychiatry
             6. October 2012: “Advocating for the mental health of Lesbian, Gay, Bisexual and
                Transgender (LGBT) population: The Role of Psychiatric Organizations.” Workshop
                for the American Psychiatric Association Institute of Psychiatric Services Annual
                Meeting.
             7. March 2013: “Gender Variance in Childhood and Adolescence,” Sexual Health
                Across the Lifespan: Practical Applications, Denver, CO.
             8. October 18th, 2013: “Gender Variance in Childhood and Adolescence,” Grand
                Rounds Presentation, NYU Department of Endocrinology.

                                         8
Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 62 of 72


        9. October, 2014: GLMA Annual Conference: “Theory of Mind and Intolerance of
            Ambiguity: Two Case Studies of Transgender Individuals with High-Functioning
            ASD,” Invited Presentation
        10. October 2014: New York Transgender Health Conference: “Mental Health
            Assessment in Gender Variant Children,” Invited Presentation.
        11. November, 2014: Gender Spectrum East: “Affirmative Clinical Work with Gender-
            Expansive Children and Youth: Complex Situations.”
        12. October 2015: “Gender Dysphoria and Complex Psychiatric Co-Morbidity,” LGBT
            Health Conference, Invited Speaker
        13. October 2015: “Transgender Health Disparities: Challenges and Opportunities,”
            Grand Rounds, Illinois Masonic Department of Medicine
        14. November 2015: “Autism and Gender Variance,” Gender Conference East, Invited
            Speaker
        15. February 2016: “Working with Gender Variant Youth,” New York State Office of
            Mental Health State Wide Grand Rounds, Invited Speaker
        16. March, 2016: “Working with Gender Variant Youth,” National Council for
            Behavioral Health Annual Meeting, Invited Speaker
        17. March 2016: “Gender Variance Among Youth with Autism: A Retrospective Chart
            Review and Case Presentation,” Working Group on Gender, Columbia University,
            Invited Speaker.
        18. September, 2016: “Best Practices in Transgender Mental Health: Addressing
            Complex Issues for Gender Dysphoric and Non-Conforming Youth,” DeWitt Wallace
            Institute for the History of Psychiatry, Weill Cornell.
        19. October, 2016: “LGBTQ Youth Psychiatric Care,” Midwest LGBTQ Health
            Symposim
        20. October, 2016: “Gender Fluidity and Gender Identity Development,” NYU Health
            Disparities Conference.
        21. February, 2017: “Best Practices in Transgender Mental Health,” Maimonides Grand
            Rounds
        22. March, 2017: “Transgender Health: Challenges and Opportunities,” Invited speaker,
            Center for Disease Control STD Prevention Science Series.
        23. September 2017: “Autism and Gender Dysphoria,” Grand Rounds, NYU Department
            of Neurology.
        24. November 2017: “Consent and Assent in Transgender Adolescents,” Gender
            Conference East.
        25. November 2017: “Transgender Mental Health: Challenges and Opportunities,” Grand
            Rounds, Lenox Hill Hospital.
        26. April 2018: “Gender Trajectories in Childhood and Adolescent Development and
            Identity,” Sex, Sexuality and Gender Conference, Harvard Medical School.
        27. September 2019: “Social and Psychological Challenges of Gender Diverse Youth,”
            Affirmative Mental Health Care for Gender Diverse Youth, University of Haifa.
        28. October 2019: “Best Practices in Transgender Mental Health,” Grand Rounds, Rush
            Department of Psychiatry.
        29. February 2020: “The Overlap of Autism and Gender Dysphoria,” Grand Rounds,
            Northwestern University Feinberg School of Medicine Department of Psychiatry
        30. February 2020: “Gender Dysphoria and Autism,” Grand Rounds, University of
            Illinois at Chicago Department of Psychiatry
        31. September 2021: “Gender Diversity and Autism,” Grand Rounds, Kaiser Permanente
            Department of Pediatrics

                                   9
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 63 of 72


              32. October 2021: Gender Dysphoria and Autism,” Grand Rounds, Case Western Reserve
                  University Department of Psychiatry.

Selected Invited Community Seminars/Lectures
              1. April 2012: “Gender and Sexuality in Childhood and Adolescence,” Commission on
                  Race, Gender and Ethnicity, NYU Steinhardt Speakers Series.
              2. February 2013: “Supporting Transgender Students in School,” NYC Independent
                  School LGBT Educators Panel, New York, NY.
              3. June 2013: “LGBT Health,” Presentation for Neuropsychology Department
              4. August 2013: “Chronic Fatigue Syndrome: Etiology, Diagnosis and Management,”
                  invited presentation.
              5. September 2013: Panelist, “LGBTQ Inclusive Sex Education.”
              6. April 2015: Transgender Children, BBC News, BBCTwo, invited expert
              7. January 2016: Gender Dysphoria and Autism – Ackerman Podcast -
                  http://ackerman.podbean.com/e/the-ackerman-podcast-22-gender-dysphoria-autism-
                  with-aron-janssen-md/
              8. February 2016: “Best Practices in Transgender Mental Health,” APA District Branch
                  Meeting, Invited Speaker.
              9. May 2016: “Best Practices in Transgender Mental Health,” Washington D.C., District
                  Branch, APA, Invited Speaker
              10. July 2016: “Transgender Youth,” Union Square West
              11. November 2017: “Understanding Gender: Raising Open, Accepting and Diverse
                  Children,” Heard in Rye, Conversations in Parenting.
              12. January 2018: “The Emotional Life of Boys,” Saint David’s School Panel, Invited
                  Speaker
              13. June 2018: “Supporting Youth Engaged in Gender Affirming Care,” NYU Child
                  Study Center Workshop.
              14. October 2018: “Medicine in Transition: Advances in Transgender Mental Health,”
                  NYCPS HIV Psychiatry and LGBT Committee Meeting.
              15. October 2018: “Understanding Gender Fluidity in Kids,” NYU Slope Pediatrics.
              16. October, 2021: Issues of Ethical Importance: Health Care for Pediatric LGBTQ+
                  Patients, American Medical Association, Invited Talk



Major Research Interests
      Gender and Sexual Identity Development
      Member, Research Consortium for Gender Identity Development
      Delirium: Assessment, Treatment and Management
      Suicide Prevention

Research Studies
Study Title                                             IRB Study#            Dates
Suicide Attempts Identified in a Children’s Hospital    2021-4428             2/26/21-present
Before and During COVID-19

Lurie Children’s Sex & Gender Development Program       2019-2898             2019-present
Clinical Measure Collection


                                           10
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 64 of 72


Adolescent Gender Identity Research Study                s15-00431            4/15-5/19
(principal investigator) - unfunded

Co-Occurrence of Autism Spectrum Disorders               s14-01930            10/14-5/19
and Gender Variance: Retrospective Chart Review
(principal investigator) - unfunded

Expert Consensus on Social Transitioning Among           s13-00576            3/16-5/19
Prepubertal Children Presenting with Transgender
Identity and/or Gender Variance: A Delphi Procedure
Study (principal investigator) - unfunded

Co-Occurrence of ADHD/Gender Dysphoria                   s16-00001            1/16-5/19
(principal investigator) - unfunded

PICU Early Mobility- unfunded                            s16-02261            12/16-5/19

Metformin for Overweight and Obese Children              s16-01571            8/16-5/19
and Adolescents with Bipolar Spectrum Disorders
Treated with Second-Generation Antipsychotics –
Funded by PCORI

Other
        Grant Funding:
        Zero Suicide Initiative, PI Aron Janssen, M.D.
        Awarded by Cardinal Health Foundation, 9/2020
        Total amount: $100,000

        Catalyst Fund, PI Aron Janssen, M.D.
        Suicide Prevention in Pediatric Primary Care
        Total amount: $750,000


Selected Media Appearances:
       Guest Expert on Gender Identity on Anderson, “When Your Husband Becomes Your Wife,” Air
              Date February 8th, 2012
       Guest Host, NYU About Our Kids on Sirius XM, 2011
       NYU Doctor Radio: LGBT Health, September 2013
       NYU Doctor Radio: LGBT Kids, November 2013
       NYU Doctor Radio: LGBT Health, July 2014
       NYU Doctor Radio: Gender Variance in Childhood, December 2014
       BBC Two: Transgender Youth, April 2015
       NYU Doctor Radio: Transgender Youth, June 2015
       Fox-5 News: Trump’s proposed military ban and Transgender Youth, July, 2017
       Healthline.com: Mental Health Experts Call President’s Tweets ‘Devastating’ for Trans Teens,
              July, 2017
       Huffington Post: What the Military Ban Says to Our Transgender Youth: August, 2017
       Metro: How to talk to your transgender kid about Trump, August 2017
       NYU Doctor Radio: Transgender Youth, August 2017

                                           11
  Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 65 of 72




                               Exhibit B
                            Bibliography




EXPERT REBUTTAL REPORT OF ARON C. JANSSEN, M.D.
Case No. 4:22-cv-00325-RH-MAF
   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 66 of 72




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results. International journal of pediatric endocrinology, 2020, 8.

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Suicidality Among Transgender Youth After Gender-Affirming Hormones.
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coverage for gender- affirming care of transgender patients. Available at:
https://www.ama-assn.org/system/files/2019-03/transgender-coverage-issue-
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mental disorders (5th ed., text rev.). Arlington, VA: American Psychiatric
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fe32fe8761bf/Position-Conversion-Therapy.pdf.

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identity-change-efforts.pdf.



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   Case 4:22-cv-00325-RH-MAF Document 120-28 Filed 04/07/23 Page 67 of 72




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provides comprehensive genetic diagnosis for patients with disorders of sex
development. Clinical genetics, 83(1), 35–43.

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                                         7
